      Case 2:08-cr-00814-DGC Document 654-1 Filed 10/19/11 Page 1 of 1



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 6
                               UNITED STATES DISTRICT COURT
 7
                                    DISTRICT OF ARIZONA
 8
 9   United States of America,

10                Plaintiff,                              CR-08-814-02-PHX-DGC
           v.
11   Ransom Marian Carter, III,                                   ORDER
12                Defendant.
13
14
15        The government having filed a motion to continue the sentencing, without opposition by

16 defendant, and good cause appearing,
17        IT IS ORDERED that defendant’s sentencing is continued from Monday, October 24,

18 2011, at 11:00 a.m. to _________________________________, 20___ at _________.
19        Excludable delay under 18 U.S.C. 3161(h) _______ is found to commence on

20 _______________ for a total of ________ days.
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